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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


UNITED STATES OF AMERICA,                   :
                                            :
      Plaintiff,                            :
                                            :          CIVIL ACTION NO.
      v.                                    :          1:18-CR-0015-AT-3
                                            :
DEVIN VAN JACKSON,                          :
                                            :
      Defendant.                            :
                                            :

                                     ORDER

      Currently before the Court is the Magistrate Judge’s Report and

Recommendation (“R&R)(Doc. 125) on pending motions on behalf of Defendant

Devin Van Jackson, including his Motion to Dismiss Count Four (Doc. 88) and his

““Motion to Suppress the Fruit of the Search Warrant of His Abode and Any and

All Statements Due to Fourth and Fifth Amendment Violations” (Doc. 89). The

Magistrate Judge recommends that the Motion to Dismiss be denied without

prejudice and that the Motion to Suppress be denied.

      A district judge has broad discretion to accept, reject, or modify a magistrate

judge’s proposed findings and recommendations. United States v. Raddatz, 447

U.S. 667, 680 (1980). Pursuant to 28 U.S.C. § 636(b)(1), the Court reviews any
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portion of the R&R that is the subject of a proper objection on a de novo basis and

any non-objected portion on a “clearly erroneous” standard. As Defendant has

filed no objections to the R&R, the Court reviews the R&R for clear error.

      Upon review of the R&R and the underlying motions, the Court finds no

clear error in the R&R’s analysis or recommendations.        Therefore, the Court

adopts such as the Order of the Court. Thus, Devin Jackson’s Motion to Dismiss

Count Four [Doc. 88] is DENIED WITHOUT PREJUDICE and his “Motion to

Suppress the Fruit of the Search Warrant of His Abode and Any and All

Statements Due to Fourth and Fifth Amendment Violations” [Doc. 89] is

DENIED.



       It is SO ORDERED this 6th day of December, 2018.




                                         ___________________________________
                                         AMY TOTENBERG
                                         UNITED STATES DISTRICT JUDGE




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